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                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF GEORGIA
                          BRUNSWICK DIVISION

UNITED STATES OF AMERICA                  )
                                          )
v.                                        )         CR 218-14
                                          )
ANDREW JACKSON                            )
                                          )

     MOTION TO ADMINISTER OATH TO OUT OF TOWN WITNESSES
                     PRIOR TO TESTIMONY

      Comes now the United States of America, by and through Bobby L. Christine,

United States Attorney for the Southern District of Georgia, and moves the Court for

permission to excuse out of town witnesses from the Court’s initial Administration of

Oath that is typically performed immediately following jury selection.           The

government submits that two forensic chemist are travelling to appear at the trial.

Both are traveling from out of town and expected to testify on Wednesday, January

30, 2019. The government has and will explain the rule of Sequestration.

      This 25th day of January, 2019.

                                              Respectfully submitted,

                                              BOBBY L. CHRISTINE
                                              UNITED STATES ATTORNEY

                                              /s/ Matthew A. Josephson
                                              Matthew A. Josephson
                                              Assistant United States Attorney
                                              Georgia Bar No. 367216

P.O. Box 8970
Savannah, GA 31412
(912) 652-4422
     Case 2:18-cr-00014-LGW-BWC Document 575 Filed 01/25/19 Page 2 of 2



                            CERTIFICATE OF SERVICE

       This is to certify that I have on this day served all the parties in this case in

accordance with the notice of electronic filing that was generated as a result of

electronic filing in this Court.

       This 25th day of January, 2019.



                                                /s/ Matthew A. Josephson
                                                Matthew A. Josephson
                                                Assistant United States Attorney
                                                Georgia Bar No. 367216

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